        Case 1:16-cv-05263-AKH Document 275 Filed 03/26/18 PageSONY
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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FRONTPOINT ASIAN EVENT DRIVEN FUND, L.P., and :
SONTERRA CAPITAL MASTER FUND, LTD., on behalf     SCHEDULING ORDER
of themselves and all others similarly situated,,
                                                  16 Civ. 5263 (AKH)
                                  Plaintiffs,
            V.

CITIBANK, N.A., CITIGROUP INC., BANK OF
AMERICA CORPORATION, BANK OF AMERICA,
N.A., JPMORGAN CHASE & CO., JPMORGAN CHASE
BANK, N.A., THE ROY AL BANK OF SCOTLAND PLC,
THE ROYAL BANK OF SCOTLAND GROUP PLC, RBS
SECURITIES JAPAN LIMITED, UBS AG, UBS
SECURITIES JAPAN CO. LTD., ING GROEP N.V., ING
BANK N.V., ING CAPITAL MARKETS LLC, BNP
PARIBAS, S.A., BNP PARIBAS NORTH AMERICA,
INC., BNP PARIBAS SECURITIES CORP., BNP
PARIBAS PRIME BROKERAGE, INC., OVERSEA-
CHINESE BANKING CORPORATION LTD.,
BARCLAYS PLC, BARCLAYS BANK PLC,
BARCLAYS CAPITAL INC., DEUTSCHE BANK AG,
CREDIT AGRICOLE CORPORATE AND INVESTMENT :
BANK, CREDIT AGRICOLE S.A., CREDIT SUISSE
GROUP AG, CREDIT SUISSE AG, CREDIT SUISSE
INTERNATIONAL, STANDARD CHARTERED
BANK, STANDARD CHARTERED PLC, DBS BANK
LTD., DBS GROUP HOLDINGS LTD, DBS VICKERS
SECURITIES (USA) INC., UNITED OVERSEAS BANK
LIMITED, UOB GLOBAL CAPITAL, LLC, AUSTRALIA
AND NEW ZEALAND BANKING GROUP, LTD., ANZ
SECURITIES, INC., THE BANK OF TOKYO-
MITSUBISHI UFJ, LTD., THE HONGKONG AND
SHANGHAI BANKING CORPORATION LIMITED,
HSBC BANK USA, N.A., HSBC HOLDINGS PLC, HSBC
NORTH AMERICA HOLDINGS INC., HSBC USA INC.,
MACQUARIE BANK LTD., MACQUARIE GROUP
LTD., COMMERZBANK AG, AND JOHN DOES NOS.
1-50,

                                         Defendants.
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         Case 1:16-cv-05263-AKH Document 275 Filed 03/26/18 Page 2 of 2




ALVIN K. HELLERSTEIN, U.S.D.J.:

         Oral argument currently scheduled for March 28, 2018, is adjourned, and will be held

instead on April 12, 2018, at 2:30 P.M.

         SO ORDERED.

Dated:          MarchX , 2018
                New York, New York                   AL VIN K. HELLERSTEIN
                                                     United States District Judge




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